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                       Exhibit 3
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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF LOUISIANA

In re: Oil Spill by the Oil Rig "Deepwater           *         MDLN0.2179
   Horizon" in the Gulf of Mexico, on April          *
   20,2010                                           *         SECTION J
                                                     *
This document relates to:                            *
All Cases and No. 12-970                             *         HONORABLE CARL J.
                                                     *         BARBIER
                                                     *
                                                     *         MAGISTRATE JUDGE
                                                     *         SHUSHAN
                                                     *
                           DECLARATION OF DZMITRY ASINSKI

I, Dzmitry Asinski, declare and state as follows:

        1.      I am over the age of 21 and a resident of the State of Illinois. Unless otherwise

stated, I have personal knowledge of the facts set forth herein and, if called to do so, could testify

truthfully thereto.

        2.      I am a Vice President of Compass Lexecon, an economic consulting firm with its

headquarters in Chicago, IL. I received a Ph.D. in Economics from Iowa State University in 2006,

and have worked at Compass Lexecon since that time. I specialize in applied econometrics. A

copy of my curriculum vitae is attached hereto as Appendix A to this declaration.

        3.      I have been retained by BP in relation to the litigation surrounding the 2010

Deepwater Horizon oil spill, and my responsibilities include, among other things, monitoring the

implementation of the Seafood Compensation Program, which is part of the Economic and Property

Damage Class Action Settlement Agreement ("Settlement Agreement").               I regularly conduct

analyses of claims data provided by the Court Supervised Settlement Program ("CSSP"), including

analyses of claims filed by particular law firms.
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          4.     The Settlement Agreement's Seafood Compensation Program created a $2.3 billion

capped fund to pay for specified seafood and commercial-fishing industry claims. The Seafood

Compensation Program contemplated two major distributions. In the first round, the CSSP would

review all claims, determine their validity, and pay out compensatory awards. The second round of

distributions would occur "[i]n the event there are Seafood Compensation Program Amount funds

remaining."

          5.     Class members had until January 2013 to file claims under the Seafood

Compensation Program. A total of 24,520 claims were submitted. Of these, 4,491 were individual

seafood crew member claims.        A chart describing the status of seafood crew member claims is

attached hereto as Appendix B.

          6.     As of December 12, 2013, $1.05 billion in payments have been made, with the first

distribution nearly complete. Thus, approximately $1.25 billion remains in the fund for seafood

claims.

          7.     The law firm Watts Guerra LLP filed 648 claims under the Seafood Compensation

Program on behalf of seafood crew members. Of those 648 claimants, only 8 have been found

eligible for payment, with 17 claims still pending and available for possible compensation. In other

words, 96 percent of the claims that were filed by Watts Guerra LLP have been denied or closed.

See App'x B (describing the status of the 648 claimants represented by Watts Guerra LLP).

          I make this Declaration under penalties of perjury pursuant to 28 U.S.C. § 1746, and I state

that the facts set forth herein are true to the best of my knowledge, belief, and information.


                                                        v~~ lf2y  ·,
                                                        Dzmitry Asinski
                                                                             /}s ,/Js f:::-t

Dated: December 13, 2013


                                                   2
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                      Appendix A
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DZMITRY ASINSKI                                                             April 2013
Vice President


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FEILDS OF SPECIALIZATION
Applied Econometrics
Health Economics
Industrial Organization
Public Economics

EDUCATION

Ph.D., IOWA STATE UNIVERSITY, Economics (minor in Statistics), 2006

M.A., EERC, KIEV-MOHYLA ACADEMY, Economics, 2000

B.A., BELARUS STATE ECONOMIC UNIVERSITY, Economics, 1998


PROFESSIONAL EXPERIENCE

Compass Lexecon, (formerly Lexecon), Chicago, Illinois (2006-present): Economist;
(January 2009) Senior Economist; (April 2012) Vice President

Agency for Healthcare Research and Quality, Rockville, Maryland (2004): Intern

Iowa State University, Ames, Iowa (2000-2006): Instructor, Graduate Assistant

EERC, Kiev, Ukraine (1999-2000): Graduate Teaching Assistant

Stockholm Institute of Transition Economics and East European Economics,
Stockholdm, Sweden (1999): Intern

JS Savings bank Belarusbank, Minsk, Belarus (1998): Financial Analyst


ACADEMIC HONORS AND FELLOWSHIPS

Teaching Excellence Award, Iowa State University, 2003
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Graduate College Scholarship, Iowa State University, 2000-2006

SELECTED CASE EXPERIENCE

FirstGroup’s acquisition of Laidlaw
Verizon v. Vonage litigation
Verizon v. Cox litigation
Delta/Northwest merger
Tobacco MSA proceedings
American Express v. Visa litigation
CME Group’s Credit Default Swaps and Interest Rate Swaps margining models reviews
Investigations related to Amaranth Advisors
American Express Travel Insurance Class Action litigation
Rail Fuel Surcharge Class Action litigation
AT&T/T-Mobile USA merger
Litigation related to BP Deepwater Horizon oil spill

INVITED PRESENTATIONS

Florida State University, University of New South Wales, University of Technology-
Sydney (2006)

RESEARCH

“Health Insurance, Access to Care, and Risk-Aversion: Separating Incentive and
Selection Effects,” working paper, October 2005

“Employer-Provided Health Insurance: Preferences and Choice,” working paper, January
2005

“Capital Structure and Performance of Business Start-ups: the Role of Unobserved
Information and Incentives,” (joint with Olena Chyruk), working paper, July 2006

“Relationship between Financial Development and Economic Growth in Transition
Economies,” M.A. Thesis, EERC, 2000


PROFESSIONAL ACTIVITIES

Referee for American Economic Review, Journal of Public Economics, Journal of
Applied Econometrics, Journal of Human Resources, Social Security Bulletin, The B.E.
Journal of Economic Analysis & Policy
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                      Appendix B
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                                                                      Appendix B
                                                     Status of CSSP Seafood Crew Member Claims

                                                                                                    Eligible     Eligible
                                                                  Total    In Review   Incomplete   Payable    Non‐Payable   Denied   Closed

Seafood Crew Member Claims Represented by Watts, Guerra LLP       648         13           4           8            0         615       8
                                                                 100.0%      2.0%        0.6%        1.2%         0.0%       94.9%    1.2%

All Seafood Crew Member Claims                                    4,491      165         247          801         262        2,222     794
                                                                 100.0%      3.7%        5.5%        17.8%        5.8%       49.5%    17.7%


Source: CSSP Data as of 12/09/2013.
